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           8

           9                         IN THE UNITED STATES DISTRICT COURT

          10                       FOR THE EASTERN DISTRICT OF CALIFORNIA

          11

          12   VIDEO GAMING TECHNOLOGIES,
               INC., dba VGT, Inc., a Tennessee                    2:08-CV-01241-JAM-EFB
          13   Corporation, et al.,
                                                              STIPULATION AND ORDER FOR
          14                                      Plaintiffs, CONTINUANCE OF HEARING ON
                                                              DEFENDANTS’ MOTIONS TO DISMISS
          15                v.                                CLAIMS

          16   BUREAU OF GAMBLING CONTROL, a
               law enforcement division of the California
          17   Department of Justice, et al.,

          18                                    Defendants.

          19                                                       Date:        February 11, 2009
                                                                   Time:        9:00 a.m.
          20   CAPITAL BINGO, INC., a California                   Courtroom: 6
               corporation, et al.,                                Judge        The Honorable John A. Mendez
          21                                                       Trial Date
               and                                                 Action Filed: June 4, 2008
          22

          23   EL CAMINO ATHLETIC BOOSTERS
               CLUB, a California non-profit corporation,
          24
                                                Intervenors.
          25

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                                                               1
                                                     Stipulation and Order For Continuance (2:08-CV-01241-FCD-EFB)

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           1         Currently, Defendants’ motions to dismiss the three amended complaints of Plaintiffs

           2   United Cerebral Palsy of Greater Sacramento, WIND Youth Services, Robert Foss, and Joan

           3   Sebastiani; Intervenors Capital Bingo, Inc., Haggin Grant Post No. 521, the American Legion,

           4   Department of California, Casa Robles High School Ramsmen, Inc., and Mary Brown; and

           5   Intervenor El Camino Athletic Boosters Club, LLC, are set to be heard before this Court on

           6   February 11, 2009, at 9:00 a.m. On January 6, 2009, the docket of the Ninth Circuit Court of

           7   Appeals reflected that the pending appeal from the issuance of the preliminary injunction in the

           8   within matter was set for oral argument on March 10, 2009, and this was telephonically

           9   confirmed with the Ninth Circuit Clerk. As the decision on the appeal may be dispositive of
          10   some or all of the issues raised in the motions to dismiss, and will, in any event, be of assistance
          11   to this Court and the parties in addressing the issues raised in the pending motions to dismiss, the
          12   parties have agreed that a continuance of the hearing on the three motions to dismiss until a
          13   reasonable time after completion of oral argument on the appeal will serve the purposes of
          14   judicial economy in the prosecution and defense of this case.
          15         IT IS THEREFORE STIPULATED that the hearing on the above-referenced three motions
          16   to dismiss be continued to April 22, 2009, at 9:00 a.m.
          17         IT IS SO STIPULATED.
          18   Dated: January 15, 2009                               EDMUND G. BROWN JR.
                                                                     Attorney General of California
          19                                                         SARA J. DRAKE
                                                                     Supervising Deputy Attorney General
          20
                                                                     /s/ WILLIAM L. WILLIAMS, JR.
          21
                                                                     WILLIAM L. WILLIAMS, JR.
          22                                                         Deputy Attorney General
                                                                     Attorneys for Defendants
          23

          24   Dated: January 15, 2009                               NOSSAMAN LLP
          25                                                         /S/ GEOFFREY A. GOODMAN
          26
                                                                     GEOFFREY A. GOODMAN
          27                                                         Attorneys for Intervenors
          28
                                                                 2
                                                      Stipulation and Order For Continuance (2:08-CV-01241-FCD-EFB)

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           1   Dated: January 15, 2009                              STEVENS & O’CONNELL LLP

           2                                                        /s/ ALEXANDER M. MEDINA

           3                                                        ALEXANDER M. MEDINA
                                                                    Attorneys for Plaintiffs
           4

           5   Dated: January 15, 2009                              LAW OFFICES OF K. GREG PETERSON

           6                                                        /s/ K. GREG PETERSON

           7                                                        K. GREG PETERSON
                                                                    Attorneys for Intervenors
           8

           9
          10                                                ORDER

          11         Based upon the above stipulation of the parties and for good cause shown, the hearing on

          12   Defendants’ three motions to dismiss the claims in the within action is continued to April 22,

          13   2009, at 9:00 a.m.

          14   Dated: January 16, 2009

          15                                             /s/ John A. Mendez

          16                                             HONORABLE JOHN A. MENDEZ

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                                                     Stipulation and Order For Continuance (2:08-CV-01241-FCD-EFB)

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